
*488OPINION.
Marquette:
The taxpayer seeks special assessment under sections 327 and 328 of the 1918 Act. It is a requisite to the application of section 328 that there be evidence before us of “ abnormal conditions affecting the capital or income of the corporation,” so that, without benefit of the section, there would be “exceptional hardship evidenced by gross disproportions between the tax computed without benefit of this section and the tax computed by reference to the representative corporations specified in section 328.” No evidence was submitted to us beyond that which we have fully set forth in our findings. The mere fact of a large tax is, by section 327, definitely stated as insufficient basis for the application of section 328.
Certain discrepancies appear in the tax returns filed by the taxpayer, but no evidence whatever was submitted to explain those discrepancies. We can not disapprove a determination by the Commissioner upon our mere speculation. Contentions of taxpayers must be supported by proof of error. Argument, unsupported by facts, can not sustain the burden of proof which is placed upon the taxpayer in coming before this Board.
Arundell not participating.
